                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                                SOUTHERN DMSION
                                  No. 7:17-CR-29-D


UNITED STATES OF AMERICA                      )
                                              )
                   v.                         )                     ORDER
                                              )
CHARLES MALCOLM SPIVEY, JR.,                  )
                                              )
                            Defendant.        )


       On September 15, 2021, Charles Malcolm Spivey, Jr. ("Spivey'' or "defendant'') moved for

early termination of supervised release [D.E. 72]. Spivey' s supervised release began on December

4, 2018. On September 28, 2021, the government responded in opposition [D.E. 75].

       In deciding whether to grant Spivey' s motion for early termination of supervised release, the

court has considered the entire record. Spivey engaged in serious criminal conduct by failing to

register as a sex offender after convictions for indecent liberties with a child. See PSR [D.E. 49] ff

6-11, 16, 22, 25. On February 6, 2018, this court sentenced Spivey to 10 months' imprisonment

and 5 years' supervise4 release. See [D.E. 57] 1-2. Spivey has taken some positive steps since his

conviction while on supervised release. See [D.E. 72]; cf. Pem,er v. United States, 562 U.S. 476,

491 (2011).

       In light of the record, the court finds that he needs continued supervision. Spivey' s motion

for early termination of supervised release [D.E. 72] is DENIED.

       SO ORDERED. This .J..a. day of October~ 2021.




                                                           .JS C. DEVER ill
                                                           United States District Judge


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